Inmate Program History,
ODOM,MARCUS,DECARLOS

AA/Wednesday 2023 Attended: 2/24/2016
__ 9/14/2022 % Outcome: Released
Attended: 9/28/2022 REMOVED DID NOT SIGN IN 12-9-
15 J22
Attended: 10/5/2022 ADDED BACK TO LIST 12-10-15
J22

Attended: 10/12/2022
_M.A.P.S. 2023 -—- PM

Attended: 11/2/2022 6/13/2022 _

Attended: 6/15/2022

Attended: 10/26/2022

Attended: 11/16/2022

: 6/22/2
Attended: 11/23/2022 Attended: 6/22/2022
Attended: 6/29/2022
Attended: 11/30/2022 ended: 6/26/20
Attended: 2
Attended: 12/7/2022 ttended: 7/6/2022
: 7. 2
Attended: 12/14/2022 Attended: 7/13/2022
Attended: 1/4/2023 Attended: 7/20/2022
Attended: 7/27/2022
Attended: 1/11/2023
Attended: 8/3/2022
Outcome:
Attended: 8/10/2022

Attended: 8/17/2022

Attended: 8/24/2022

COMMUNITY PRAISE
AND WORSHIP 2022 Attended: 8/31/2022

11/11/2015 3/2/2016 Attended: 9/7/2022

Attended: 11/10/2015 Attended: 9/14/2022
Attended: 11/17/2015 Attended: 9/28/2022
Attended: 12/2/2015 Attended: 10/5/2022
Attended: 12/15/2015 Attended: 10/12/2022
Attended: 1/5/2016 Attended: 10/19/2022
Attended: 1/26/2016 Attended: 10/26/2022
Attended: 2/2/2016 Attended: 11/16/2022
Attended: 2/10/2016 Attended: 11/23/2022
Attended: 2/16/2016 Attended: 11/30/2022

Case 3:19-cr-00211 Document 483-1 Filed 01/27/23 Page 1 of 2 PagelD #: 1968
Attended: 12/7/2022
Attended: 1/4/2023
Attended: 1/11/2023

Outcome:

PLEASANT VIEW
MINISTRY 2018

1/11/2016 3/2/2016
Attended: 1/17/2016

Attended: 1/29/2016
Attended: 2/7/2016
Attended: 2/21/2016
Attended: 2/28/2016

Outcome: Released

STILL WATERS (ENG)
_2ND & 4TH WK 2023

9/6/2022
Attended: 9/6/2022

Attended: 9/13/2022
Attended: 9/27/2022
Attended: 10/11/2022
Attended: 10/25/2022
Attended: 11/22/2022

Outcome:

Case 3:19-cr-00211 Document 483-1 Filed 01/27/23. Page 2 of 2 PagelD #: 1969
